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                     UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

 DR. THOMAS HUBBARD, PhD,

        Plaintiff,

 v.                                                      Case No. 1:20-cv-767

 SARAH ALLEN BLAKEMORE and
 JOHN DOES 1-10,

        Defendants.



          PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT
      SARAH ALLEN BLAKEMORE’S MOTION FOR SUMMARY JUDGMENT

        COMES NOW Dr. Thomas Hubbard, PhD (“Dr. Hubbard” or “Plaintiff”) and files

his Response in Opposition (“Response”) to Defendant Sarah Allen Blakemore’s

(“Blakemore” or “Defendant”) Motion for Summary Judgment (“MSJ”) and would

respectfully show as follows:

                          I.      PRELIMINARY STATEMENT

        Part of the tradition of Western civilization is to freely inquire regarding matters

that some may find uncomfortable. This tradition gave rise to the acceptance of the

heliocentric universe, the theory of evolution, and tolerance of human sexuality. Along the

way, proponents of these progressive schools of thought were labeled by intolerant

detractors as “heretics”, “satanic”, “degenerate”, and “perverts”. Today, perhaps the most

weaponized term to use against persons who question the wisdom of conventional mores

is “pedophile”. Dr. Hubbard has fallen victim to this modern-day witch hunt.
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        Dr. Hubbard has devoted his life to the study of ancient Greece – the foundational

civilization of the West. A precocious scholar, he received his PhD from Yale University

at the age of only 23 and later taught the first ever course at the University of Texas at

Austin (the “University”) on homosexuality. One of the aspects of his classical studies is

in relation to the inter-generational relationships between adult men and teenage boys in

ancient Greece (“Pederasty”).            Dr. Hubbard has published many works on this

phenomenon and the role and function it played in ancient Greek society.

        Based on his research and scholarship of the classical and contemporary worlds,

Dr. Hubbard has also proposed some modest reforms to U.S. age of consent laws—

primarily for boys—to be consistent with the laws of many developed countries and to end

the disparate use of statutory rape laws to punish gay men. He has never proposed that age

of consent laws be entirely repealed and has never suggested the legalization of pedophilia

(“Pedophilia”, sex involving prepubescent children). However, even the very idea that

any age of consent laws should be examined and potentially reformed has caused Dr.

Hubbard to draw the attention of the self-righteous mob.

        One such “mobster” is Defendant Blakemore. As is clear from her publicly

available social media profiles, she has lived a life of privilege and attention-seeking. Her

Twitter profile says she doesn’t “get out of bed for less than 18 karats”.1 She is involved

in pageantry, bearing the title of “visiting jewel to the royal court”.2 Her Facebook page




        1
            https://twitter.com/sarahablakemore/status/886701344509263872
        2
          https://wslaustin.org/media-room/press-releases/womens-symphony-league-of-austin-hosts-
jewel-tea/



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shows she has a career in modeling.3 Likewise, her Instagram page is littered with

narcissistic and sexualized images of herself.4

       Her father, Allen Blakemore, a GOP political strategist, has been called the “Darth

Vader” of Texas politics by the District Attorney of Harris County.5 At some point in the

past year—apparently bored with seeking attention for shallow externalities—Blakemore

decided follow in her father’s footsteps and seek attention for herself as an activist. She

set her sights on Dr. Hubbard to launch a crusade based on completely fabricated claims

that Dr. Hubbard promoted Pedophilia and violent—and to be sure, law breaking—sexual

assaults against children. The debutante became a dilettante.

       Blakemore, who never attempted to engage in any discussion with Dr. Hubbard on

the substance of his actual views, resorted to sensationalistic lies for her own attention-

seeking purposes. Although it is undisputed that Dr. Hubbard has never advocated or

suggested that anyone break current laws and have sex with underage adolescents,

Blakemore nevertheless made written and oral statements that claimed Dr. Hubbard

“advocates for violent crime against teen boys” and “promotes breaking the law” (i.e.,

statutory rape). Blakemore’s lies stirred up a violent mob that vandalized Dr. Hubbard’s

home,6 causing him to leave Austin. This attack severely damaged his career, reputation,

and health. The man who devoted his life to giving a voice to the voiceless (even if he did




       3
           https://www.facebook.com/sarah.blakemore.7798.
       4
           https://www.instagram.com/sarah_blakemore/?hl=en
       5
           https://harpers.org/archive/2017/03/texas-is-the-future/5/
       6
           https://baltimoreoutloud.com/wp/anti-gay-hatefest-at-u-of-texas-austin/



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not agree with them)7 was silenced and made a refugee by a mob roused up by Blakemore’s

incendiary lies.

        Blakemore’s statements are clearly defamatory and actionable. However, before

discovery has even commenced in this case, Blakemore seeks an immediate summary

judgment—relying primarily on the overruled case of Ollman v. Evans—on Dr. Hubbard’s

libel claims on the sole basis that all of Blakemore’s complained of Statements are not

assertions of fact, but rather are “opinions” and thus non-actionable.                     Blakemore’s

arguments in the MSJ are based on bad law and are a completely unavailing waste of the

Court’s time. Blakemore attempts to implore the Court’s sympathy with the “I’m just an

innocent student” ruse. But the reality is that Blakemore chose to play an “adult game” in

tarnishing Dr. Hubbard’s dignity and reputation by falsely accusing him of advocating for

the violent rape of children. She must now and now must accept the “adult prize” of facing

the consequences of her actions in a court of law.

                       II.      PERTINENT FACTUAL BACKGROUND

        On approximately November 21, 2019, Blakemore, and upon information and

belief, acting in concert with John Does, authored and caused to be published the document

attached as Exhibit A to the MSJ (the “Flyer”), which was circulated to multiple third

parties in and around the campus of the University and ultimately nationwide via a Twitter

list to which many faculty and students in the field of Classics subscribe, eliciting multiple

hostile reactions to Dr. Hubbard within his professional field. Doc. 4 at ¶¶ 6-7. The Flyer

is reproduced herein as follows:



        7
          See Ex. B-1 (Dr. Hubbard clearly states he does not personally practice or advocate for pederasty
or pedophilia, but seeks to understand the reasons behind those who do and to provide them a voice, rather
than simply demonize them).



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       AUSTIN, TX - Dr. Thomas K. Hubbard has been advocating for pederasty
       (pedophilia) for as long as he has taught at the University of Texas. Since
       2000, Dr. Hubbard has used his position to further a community of
       individuals hoping to prey on underage boys. In his academic writing,
       Hubbard describes physical relationships between men and young boys as
       "proper learning experiences." Works like "Boys' Sexuality and Age of
       Consent" encourage these illicit acts. His course "Mythology of Rape" was
       banned at UT after only one semester. Furthermore, Hubbard is heavily
       associated with the North American Man/Boy Love Association
       (NAMbLA), formerly the world's largest pedophile activist group. He is
       even on the list of associated individuals on the NAMbLA Wikipedia page.

       We are calling for Dr. Thomas K. Hubbard's immediate removal from his
       position as a professor of the classics department at the University of Texas
       at Austin. An individual who advocates for violent crime against teen boys
       had no business teaching the leaders of tomorrow. It is clear to us that the
       University of Texas does not have its student's safety, health, and welfare
       in mind. Hubbard's misconduct has been brought to administration before
       to no avail. We refuse to stand by while this man uses his status to promote
       pedophilia.

       It is our goal to make students aware of Hubbard's disgusting ideals even if
       the University of Texas protects him. It should be a student's choice
       whether to learn from a man with Hubbard's record.

Ex. A to MSJ. Afterward, in a December 4, 2019 news story in the Austin American

Statesman (the “Statesman”), in reference to the controversy created by the Flyer,

Blakemore was quoted as saying “after learning about” Dr. Hubbard’s writings, “I

understand everyone has their own academic license, but I don’t think it’s appropriate for

teachers at a public university to be promoting breaking the law.”                     See

https://www.statesman.com/news/20191204/austin-students-want-professor-fired-for-

writings-on-age-of-consent-ut-says-itrsquos-protected-speech; Doc. 4 at ¶ 17 (together

with the Flyer, the “Statements”).

       Based on the impressions conveyed expressly and/or impliedly through

juxtaposition, context, and innuendo by the Statements, Plaintiff has brought suit against

Blakemore for libel per quod and libel per se. Doc. 1 at Count I.



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                                 III.     SUMMARY OF ARGUMENT

        Blakemore seeks summary judgment on the sole ground that the Statements are

expressions of protected opinion and are not statements of objectively verifiable fact. See

MSJ at ¶¶ 4-5, 6, 43. There are no other grounds raised for summary judgment. See

generally id. Accordingly, Dr. Hubbard need only show, when properly read in context

from the standpoint of the ordinary reader, that the complained of Statements are

statements of fact and not protected opinion either expressly or through implication. For

the reasons discussed below, Blakemore’s MSJ fails because it relies on overruled case law

to tease out an “opinion” and at least some of the complained of Statements (and/or gists

and impressions created by those Statements) are assertions of fact.

                             IV.        ARGUMENT AND AUTHORITIES

        A. The Applicable Legal Standards

        Under Texas law, a publication is capable of defamatory meaning if, in light of

context and surrounding circumstances, “from the point of view it would have on the mind

of ordinary readers,” the publication tends to injure the reputation of a person or impeach

any person's honesty, integrity, or virtue.8 This determination is not made from the

standpoint of the “careful reader” or the “literal reader”, but from the viewpoint of the “man

on the street’s” ordinary and reasonable reading.9 This hypothetical “person of ordinary

intelligence” is one who exercises care and prudence, but not omniscience, when

evaluating an allegedly defamatory communication.10 If the complained of statements are



        8
            See Sellards v. Express-News Corp., 702 S.W.2d 677, 679 (Tex. App.—San Antonio 1985, writ
ref’d n.r.e.); TEX. CIV. PRAC. & REM. CODE § 73.001.
        9
            See Turner v. KTRK Television, Inc., 38 S.W.3d 103, 119 (Tex. 2000) (citations omitted).
        10
             See New Times, Inc. v. Isaacks, 146 S.W.3d 144, 157 (Tex. 2004).



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ambiguous, in that they may have a defamatory meaning, but are not necessarily

defamatory, then the issue must be submitted to the jury and the trial court should not grant

summary judgment.11

        Accusations of corrupt mental state or motivations are actionable.12                        These

statements cannot be insulated from liability by arguing they are categorically statements

of opinion.        For example, in Gateway Logistics Group, Inc. v. Dangerous Goods

Management Australia Pty, Ltd. the court applied Texas law and held that the statements

“in my opinion [plaintiff] has taken the art of lies & deception to a level almost beyond

belief” and “our relationship with [plaintiff] has been terminated as a result of this greedy,

deceitful, and very stupid plan” were libelous assertions of fact and not protected opinion.13

        In distinguishing statements of fact from opinion, Texas courts have adopted the

verifiability test in Milkovich v. Lorain Journal Co.14 In Milkovich, the U.S. Supreme



        11
             See, e.g., Turner, 38 S.W.3d at 117; Sellards, 702 S.W.2d at 679.
        12
            See, e.g., Bentley v. Bunton, 94 S.W.3d 561, 581-82 (Tex. 2002) (holding that statement
suggesting that plaintiff was “dishonest, unethical, shady, and unscrupulous” was reasonably capable of
defamatory meaning); Scripps NP Operating, LLC v. Carter, 567 S.W.3d 1, 18 (Tex. App.—Corpus Christi
2016), order withdrawn (Jan. 18, 2019), aff'd, 573 S.W.3d 781 (Tex. 2019) (holding that that publications
“taken together, clearly attempt to demonstrate that Carter acted improperly in his role as CEO of the
Chamber by making false financial statements” motivated by a desire “to personally enrich himself…”); see
also Sellards, 702 S.W.2d at 679.
        13
             No. H–05–2742, 2008 WL 1883914 (S.D. Tex. Apr. 25, 2008).
        14
            See Bentley, 94 S.W.3d 561, 579–85 (Tex. 2002) (adopting 497 U.S. 1, 21 (1990)). As alluded to
above, Blakemore completely ignores Milkovich or Bentley, failing to cite them at all in her MSJ. See
generally MSJ. Rather, Blakemore cites to the pre-Milkovich case from the D.C. Circuit of Ollman v. Evans,
750 F.2d 970 (D.C. Cir. 1984) and the pre-Bentley Texas appellate case following Ollman of Yiamouyiannis
v. Thompson, 764 S.W.2d 338 (Tex. App.—San Antonio 1988, writ denied). The D.C. Circuit itself has
recognized that Ollman has been overruled by Milkovich and it’s “multi-factor” test relied on by Blakemore
is no longer good law except possibly as it relates to “Op-Ed columns”. See Guilford Transp. Indus., Inc. v.
Wilner, 760 A.2d 580, 583, n.1 (D.C. 2000). Texas courts have expressly rejected application of Ollman in
any sense and have held it reversible error employ the standard Blakemore asks of this Court. See Pisharodi
v. Barrash, 116 S.W.3d 858, 862 (Tex. App.—Corpus Christi 2003, pet denied) (“In awarding summary
judgment to Dr. Barrash, the trial court relied on the four-part test of Ollman v. Evans. Such reliance
was erroneous.”) (emphasis added). Blakemore’s inexplicable reliance on overruled case law instead of the
controlling legal standards underscores the frivolity of the MSJ. Her entire “analysis” under this overruled
case in the MSJ at paragraphs 23-30 should be completely ignored.



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Court held that the defendant's statement that the plaintiff committed perjury was

“sufficiently factual to be susceptible of being proved true or false.”15 Milkovich rejected

an opinion/fact dichotomy that was proposed by the defendant in that case.16 Whether a

statement is conveying actual facts about a person (overtly or impliedly) “depends on a

reasonable person's perception of the entirety of a publication and not merely on individual

statements.”17 The same is no less true when determining if the utterance is an actionable

statement of fact or a constitutionally protected expression of opinion – it all depends on a

reasonable person's perception of the entirety of a publication and its verifiability.18

         B. The Reasonable Reading Of The Statements.

         Applying the standards of Milkovich as implemented by Texas courts, the Court

should first look to the entire context of the Statements. The Flyer does not in any way

convey that it is an “opinion” piece. The words “opinion” or “in my view” or “I think” are

nowhere to be found in the Flyer and are certainly not prefatory language to the relevant

portions of the complained of Statements. See Ex. A to MSJ. In fact, the Flyer contains a

sort of “dateline” at the top in the form of “AUSTIN, TX” as though it were a press release.

See id. There is simply no question that the ordinary reader of the Flyer would view it as

conveying multiple actual facts regarding Dr. Hubbard. The Flyer makes the following

pertinent express factual claims regarding Dr. Hubbard:




         15
              Milkovich, 497 U.S. at 21.
         16
            See id. at 9-10, 19 (refusing to create “an artificial dichotomy between ‘opinion’ and fact” and
rejecting that rationale from cases such as Ollman)
         17
              Bentley, 94 S.W.3d at 571 (quoting Turner v. KTRK TV., Inc., 38 S.W.3d 103 (Tex. 2000)).
         18
           Darby v. New York Times Co., 2014 WL 818614, at *5-6 (Tex. App.—Amarillo, Feb. 26, 2014,
pet. denied) (citing Bentley, 94 S.W.3d at 582).



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              •   Dr. Hubbard has, in fact, advocated for the practice of pederasty and

                  pedophilia since he been at the University.

              •   Dr. Hubbard has written that illicit physical relationships between young

                  boys and men are proper learning experiences in contemporary society in

                  such works as “Boys’ Sexuality and Age of Consent”.

              •   One of Dr. Hubbard’s courses at the University called “Mythology of Rape”

                  was banned after only one semester.

              •   Dr. Hubbard advocates for violent criminal conduct against teenage boys.

              •   Hubbard has committed misconduct that has been brought to the

                  University’s attention.

         In addition, the following are reasonable impressions and gists from the Flyer that

the reasonable reader would form from reading it through the juxtaposition, context, and

innuendo of the Statements in the Flyer:19

              •   Dr. Hubbard has, in fact, written pieces encouraging adult men to commit

                  violent sexual assaults against teenage boys (including boys who are below

                  the age of consent) that constitute crimes in contemporary society.

              •   Dr. Hubbard has, in fact, written pieces encouraging adult men to engage in

                  physical relationships with teenage boys (including boys who are below the

                  age of consent, Pederasty) and even pre-pubescent children (Pedophilia) in

                  contemporary society.


         19
            See Turner, 38 S.W.3d at 115-16 (following Milkovich and holding that a publication may convey
a false and defamatory impression even if each individual statement, standing alone, is literally true if they
are, through juxtaposition and omissions, presented in a misleading way). Notably, in her MSJ, Blakemore
entirely ignores any gists or impressions that Dr. Hubbard alleged were created by the Statements as a whole
(see Doc. 1 at ¶ 19) and instead attempts to dissect every statement complained of in isolation (see generally
MSJ) in contravention of Texas law as enunciated in Turner.



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              •   One of Dr. Hubbard’s courses at the University called “Mythology of Rape”

                  was banned after only one semester because it consisted (at least in part) of

                  Dr. Hubbard’s advocacy for pederasty, pedophilia, and/or commissions of

                  crimes against boys, which was “misconduct” that was brought to the

                  University’s attention, resulting in the banning of the course.

              •   Because Dr. Hubbard has used his teaching position at the University to

                  “further a community of individuals hoping to prey on underage boys” (an

                  example of which would be the now-banned “Mythology of Rape” course)

                  by advocating for criminal conduct such as violent sexual assault and

                  inappropriate relationships between adults and children in contemporary

                  society, this has jeopardized the safety, health, and welfare of the students

                  at the University.

         In addition, all of these Statements are punctuated by Blakemore’s statement in an

interview with the Statesman during its coverage of the aftermath of Blakemore’s Flyer,

which clearly claims—expressly and impliedly—that Dr. Hubbard’s writings promote

breaking the law.20

         As such, there is no question that Blakemore has made actual factual claims about

Dr. Hubbard regarding the content of his writings, which, according to Blakemore contain

the following content: (1) Adult men are encouraged to commit violent sexual assaults



         20
           A defendant can be held liable for the republication of a statement by someone else if a reasonable
person would recognize that the defendant's actions created an unreasonable risk that the defamatory matter
would be communicated to other parties. See Wheeler v. Methodist Hosp., 95 S.W.3d 628, 639–40 (Tex.
App.—Houston [1st Dist.] 2002, no pet.); Stephan v. Baylor Med. Ctr., 20 S.W.3d 880, 889 (Tex. App.—
Dallas 2000, no pet.). Here, Blakemore clearly understood that her Statements given in the interview with
the Statesman would result in written republication to a broad audience, thereby making her liable for libel
from these Statements.



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and/or engage in physical relationships with adolescent boys or prepubescent children in

contemporary society in such a way that breaks the law; (2) that such illicit acts can be

“proper learning experiences” in contemporary society. Moreover, Blakemore creates the

impression that the ideas from Dr. Hubbard’s writings (some of which encourage violent

rape) made their way into the classroom at the University in a course called “Mythology

of Rape”, which was “banned” by the University after only one semester.

       These are all readily and objectively verifiable facts. A review of Dr. Hubbard’s

writings can easily demonstrate whether Dr. Hubbard has ever advocated for the violent

sexual assault of teenage boys, whether he has encouraged anyone to break existing laws

regarding the age of consent, and/or whether he has ever stated that sexual assaults and

statutory rape as described above can be “proper learning experiences” in contemporary

society. In addition, a review of Dr. Hubbard’s work would also reveal whether there are

material facts that Blakemore omitted from her Statements, such as whether Dr. Hubbard

has ever affirmatively disclosed that he does not condone or encourage the practice of

pedophilia, pederasty, or the breaking of any existing laws in contemporary society. These

are not matters of opinion – they can be objectively verified.

       Moreover, whether Dr. Hubbard’s “Mythologies of Rape” (incorrectly referred to

as “Mythology of Rape”) course was “banned” by the University or whether it contained

curriculum along the lines of the views and advocacy ascribed to Dr. Hubbard by the

Statements is likewise a verifiable fact. Records from the University, a course syllabus,

etc. will easily prove or disprove these claims. Accordingly, (as discussed in greater

specificity below) the Statements complained of are statements of fact and not opinion and

are thus actionable.




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        C. Blakemore Falsely Accused Dr. Hubbard Of Criminal Misconduct.

        Other than arguing that the Statements are opinions based on an “analysis” from an

overruled case, most of the rest of the MSJ is devoted to bantering over the dichotomy of

pederasty versus pedophilia and to what extent Dr. Hubbard has any relationship with

NAMBLA (the now defunct North American Man/Boy Love Association), none of which

is of primary relevance to the core of Dr. Hubbard’s libel claims. See generally MSJ.

Shockingly, however, the most egregious accusations in Blakemore’s Statements are

almost entirely glossed over by the MSJ in an apparent attempt to distract the Court with

peripheral issues. Blakemore expressly claimed that Dr. Hubbard “advocates for violent

crime against teen boys” and that, with reference to Dr. Hubbard’s “academic license” and

his writings, that he “promot[es] breaking the law”.                         See Ex. A to MSJ;

https://www.statesman.com/news/20191204/austin-students-want-professor-fired-for-

writings-on-age-of-consent-ut-says-itrsquos-protected-speech.                   Blakemore’s   MSJ,

however, pays only a footnote tribute and a few sentences to these Statements. See MSJ at

n. 2, ¶ 22.

        Blakemore’s libelous Statements are on all fours with another Texas case that found

equivalent statements to be actionable statements of fact and not protected opinion. In

Darby v. New York Times Co., an anarchist who was accused of “encouraging” a bombing

plot and had made many inflammatory statements regarding a bombing, including “I

support you.”21 In Darby, the court found that accusing the plaintiff of “encouraging” a

bomb plot was defamation per se because it potentially accused the plaintiff of committing

a criminal act since, under Texas law, a person is criminally responsible for an offense


        21
             2014 WL 818614, at *3-4, 6 (Tex. App.—Amarillo, Feb. 26, 2014, pet. denied).



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committed by another where the former “encourages […] the other person to commit the

offense.”22

        Here, Dr. Hubbard has been accused of using his position at the University and his

writing to “promote” and “advocate” for a “community of individuals hoping to prey on

underage boys” to commit violent sexual assaults and engage in sexual relationships with

underage children, both of which Blakemore admits are “illicit”, “criminal” and “breaking

the law”.       There is no question that, under Texas law, sexual assaults and sexual

relationships with underage children are crimes.23 Blakemore’s false claims that Dr.

Hubbard “promoted” and “advocated” for the commissions of these crimes is colloquially

indistinguishable from being accused of “encouraging” the crimes.                           In fact, on

dictionary.com, the word “promote” is specifically listed as a synonym for “encourage”

and vice versa.24 As such, this case is indistinguishable from Darby.

        And that indistinguishability does not turn on whether, taking Blakemore’s false

statements as true, Dr. Hubbard would have, in fact, been guilty of the crimes of

encouraging others to commit sexual assault, statutory rape, and molestation. The point is

that terms such as “encourage”, “advocate”, or “promote” are not so amorphous and vague

so as not be objectively provable as true or false. If men and women can be imprisoned

under Texas law based on a jury of their peers making a fact finding—under a “beyond a

reasonable doubt” standard no less—that they “encouraged” the commission of crimes,




        22
             Id. at *2 (construing and quoting TEX. PENAL CODE § 7.02(a)(2) (emphasis added)).
        23
             See TEX. PENAL CODE § 21.001, et seq. (Sexual Crimes).
        24
                                                        https://www.dictionary.com/browse/encourage?s=t;
https://www.dictionary.com/browse/promote?s=t



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then surely Dr. Hubbard can sustain a defamation claim under a preponderance of the

evidence standard where he has been falsely accused of such “encouragement”.

         And Darby is not an outlier. Other cases, in the spirit of Milkovich, have held that

accusations similar to Blakemore’s false claim that Dr. Hubbard’s “hobby horse” is to

encourage sexual assault and exploitation of minors are sufficiently factual to create

defamation liability. In Sharon v. Time, Inc., the court found that an accusation that the

plaintiff “encouraged” a massacre was actionable as libel.25 In Bentley, an accusation of

“corruption” was sufficient to imply knowledge of undisclosed facts.26 Here, there is no

question that the Statements overtly and/or impliedly accuse Dr. Hubbard of having

actually—in time and space—encouraged, promoted, and advocated for the commission of

sex crimes either through his writings, his classroom teachings, or both. These are fact

claims, they are defamatory, and they are false. They are not unverifiable opinions and the

MSJ must be denied.

         D. The MSJ Also Fails To Demonstrate Opinion On The Remaining Gists Of
            The Statements.

         Although the gravamen of Dr. Hubbard’s suit is that he was falsely accused of

encouraging the commission of criminal sex crimes, other portions of the Statements are

also defamatory and are also factual. As discussed above, the appropriate legal standard is

to read the entire publications as a whole and—regardless of the truth of the individual

statements—determine the gists that are expressly and impliedly conveyed to the




           25
              575 F. Supp. 1162, 1165, 1167-68 (S.D.N.Y. 1983) (“The line between fact and opinion is
imprecise, but the present case raises no difficulties on this score. The alleged libel here is a statement of
fact[.]”).
         26
              See Bentley, 94 S.W.3d at 581-84.



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reasonable reader.27 The MSJ entirely ignores the gists created by context, innuendo,

juxtaposition, and omissions pleaded in the Complaint and instead focus on each literal

statement in isolation in an attempt to transmogrify Blakemore’s “press release” into an

Op-Ed piece.28

       Instead, Blakemore makes the naked assertion that “[t]he gist of Blakemore’s flyer

is that she finds the subject of Hubbard’s scholarship objectionable and she therefore

encourages others to join in calling for his removal from the University of Texas’ faculty.”

MSJ at ¶ 2. As the Court can read for itself in the Statements (and as articulated above),

this is like saying that the gist of Mein Kampf is that “Hitler finds the Jews of Europe

objectionable and encourages others to join in calling for their removal.” Blakemore’s

infantilizing and minimalizing of the venomous attack on Dr. Hubbard is so ridiculous that

it does not even warrant a serious response. Nonetheless, because Blakemore failed to

even address the gists created by context and implication complained of by Dr. Hubbard in

his Complaint, the MSJ fails to establish there are no complained of statements of fact and

must be denied.

       However, and in any event, the arguments advanced by Blakemore to

transubstantiate her false factual assertions into opinions fail for the following reasons:

       Blakemore first takes issue with Dr. Hubbard’s claim that her Statements in the

Flyer that he has been “advocating for pederasty (pedophilia) for as long as he has taught

at the University of Texas.” Ex. A to MSJ; MSJ at ¶ 7. This is clearly an objectively

verifiable fact. As pleaded in his Complaint—and unrebutted by any evidence from



       27
            See Turner, 38 S.W.3d at 115-16.
       28
            Compare generally Doc. 1 at ¶ 19 with MSJ.



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Blakemore—Dr. Hubbard first began teaching at the University in 1985 and did not even

begin serious research or teaching related to the ancient Greek practice of pederasty until

1993.29 This is an objectively verifiable fact and while, standing alone, it may be only

mildly defamatory, it is important to the context of the Statements and overall gist, which

paint Dr. Hubbard as sociopathic pedophilic professor who has devoted his entire

professorship and academic career to advancing the interest of sexual predators, which

informs the tone of the entirety of the Statements.

       Blakemore then goes on—as she curiously does throughout her MSJ as to other

statements—to attempt prove that her Statements regarding Dr. Hubbard in this regard are,

in fact, true. MSJ at ¶ 8. This is a strange move, however, because the basis of the MSJ is

not that the Statements are true, but that they are opinions, which are incapable of being

proven true or false. This punctuates the conclusion that the Court should draw, which is

that the Statements complained of are statements of fact and not opinion.

       Nevertheless, her “proof” demonstrates the falsity of her Statements. Exhibit B-1

to the MSJ—a YouTube video of Dr. Hubbard—clearly demonstrates that Dr. Hubbard

takes the following positions: (1) he does not personally practice or condone the practice

of pederasty or pedophilia (Ex. B-1 to MSJ at 2:07 to 2:53); (2) he had made contact with

and befriended certain members of NAMBLA to understand the reasons for their

orientations and their motivations (id.); (3) he does not agree with NAMBLA’s views and,

in fact, strongly disagrees; in speaking to NAMBLA members, he emphasized that

Pedophilia, as strictly defined in the field of psychiatry, did not have any place or practice

in Ancient Greece (id. at 2:57 to 3:45); and (3) he believes that tenured faculty members


       29
            Doc. 1 at ¶ 9.



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of universities have a moral obligation to speak for those who have no voice, including the

most reviled members of society, such as pedophiles, many of whom can be completely

celibate and non-offending (id. at 8:10 to 9:53)).

       From, this video excerpt—despite Dr. Hubbard specifically stating he does not

practice, condone, or promote the practices of Pedophilia/Pederasty and does not agree

with NAMBLA’s views—Blakemore concludes that this proves that Dr. Hubbard is an

“advocate” for Pedophilia. MSJ at ¶ 8. This is a patently absurd conclusion because it is

like saying that a criminal defense attorney who speaks for the rights of a defendant charged

with a crime thereby “advocates” for the commission of the crimes accused of, or a drug

counsellor “advocates” for drug use. Dr. Hubbard clearly states in the excerpt he disagrees

with the practice, but seeks—as a scholar—to understand why those who have this

orientation sometimes engage in conduct that our criminal justice system punishes

severely. No rational inference can result in the conclusion that Dr. Hubbard advocates for

the practices of the people who he believes should have their voice heard so as to

understand and, of course, control the behavior.

       Blakemore then cites another of Hubbard’s writings wherein he argues that policies

and rationales that are used to justify the age of consent for girls should not apply to boys

for reasons that Dr. Hubbard details based on social science and history. MSJ at ¶ 9; Ex.

C to MSJ at p. 3. However, once again, this is pure conjecture. How does arguing that

boys and girls should be treated differently for purposes of age of consent constitute

“advocating” for Pederasty? Dr. Hubbard’s writing (as can be gleaned from the entire

context of Ex. C to the MSJ) is centered on the harm to young men that may result from

restricting their abilities to obtain the full scope of manhood by restrictive laws that have




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disparate effects on males and females. See Ex. C. This has nothing to do with gay men

being able to prey on young boys as Blakemore suggests. It is about the liberation of young

men who have reached full sexual maturity for their benefit – not the benefit of people like

the members of NAMBLA. Blakemore—like a resident of 1600s Salem who thought they

saw witchcraft—sees a sinister Pedophilic agenda everywhere in Dr. Hubbard’s writings.

       Finally, Blakemore concludes by arguing that Dr. Hubbard’s writing celebrates

Pederasty in Ancient Greece as “highly productive”. See MSJ at ¶¶ 9-10; Ex. C to MSJ.

This is, again, a fabrication. Dr. Hubbard does not say that Ancient Greek Pederasty was

“highly productive”, but rather that he examined contemporary age of consent laws and

their underlying assumptions about boys against the Ancient Greeks’ “highly productive

social system that incorporated specific social functions for male sexuality (i.e.,

Pederastic relationships)”. Ex. C to MSJ at p. 3. Dr. Hubbard characterizes the whole of

Ancient Greece as a “highly productive social system” – not Pederastic relationships per

se.

       The fact that Pederastic relationships occurred in such a highly productive social

system is an interest of Dr. Hubbard’s scholarship. This is made clear in the actual writing

referenced by Ex. C to the MSJ “Sexual Consent and the Adolescent Male, or What Can

We Learn From The Greeks?”, which states that writings Blakemore relies on where Dr.

Hubbard considers the Ancient Greeks to be the “ancestors of Western civilization and

values” and were “a dynamic, creative, and successful society”. See Ex. F to MSJ at p. 1.

The fact that our cultural ancestors had different views on adolescent male sexuality is the

topic of Dr. Hubbard’s scholarship at hand – not advocacy that it should occur now exactly




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as it did then and certainly not justifying violation of any existing laws such as those against

violent sexual assault. See Exs. C and F to MSJ.

        The rest of Blakemore’s MSJ makes similar arguments that attempt to take Dr.

Hubbard’s writings out of context or outright misstate what they say. For example, despite

the fact that Dr. Hubbard has repeatedly stated that he does not agree with NAMBLA (Ex.

B-1 to MSJ at 2:57 to 3:45; Ex. D to MSJ), is not in favor of repealing the age of consent

laws entirely (Ex. E to MSJ at p. 4), and is not in any way associated with NAMBLA (Exs.

D and E to MSJ). The fact that Hubbard knows and has engaged in dialogue with

NAMBLA members, been read by NAMBLA members, had one of his books distributed

by NAMBLA, does not make him “heavily associated” with NAMBLA as Blakemore

suggests. Moreover, tellingly, despite the fact that Blakemore has obviously obtained

copies of this book, there is no evidence presented that the book in question sought to

advance a “NAMBLA agenda” or is otherwise consistent with Blakemore’s false narrative.

        Blakemore further draws an excerpt from another publication [Doc. 4-3 at pp. 5, 7]

wherein Dr. Hubbard criticizes another scholar for his negative portrayal of the aspect of

“Greek love” wherein adult men appreciated the beauty of the adolescent male form in

what Dr. Hubbard viewed as a means to sanitize and homogenize gay culture to be on par

with an “Ozzy and Harriet” type heterosexual culture. MSJ at ¶¶ 14-15. The fact that adult

gay men may be attracted to the beauty of a teenage boy’s body should not be controversial

any more than adult heterosexual men being attracted to high school cheerleaders’ bodies

is controversial. Controversial, rather, would be to encourage someone to act on such

attraction and engage in a criminal sexual relationship with a sexually mature teenager. Dr.

Hubbard never does so nor advocates for this. Even NAMBLA specifically admonishes




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its members/visitors to its site not to break any existing laws and does not advocate they

do so. Ex. G to MSJ.

       Finally, Blakemore claims that Dr. Hubbard’s writing on certain positive aspects of

Pederastic relationships in Ancient Greece translate into encouraging or promoting such

relationships today. See MSJ at ¶¶ 16-17. At most, Dr. Hubbard uses the examples of

Ancient Greece to ask the question whether, for boys, would a lower age of consent than

that allowed by most U.S. jurisdictions really by harmful for them? Dr. Hubbard merely

says that “we must pose the question” as to whether to change the laws regarding age of

consent for boys for the reasons he discusses. Ex. F to MSJ at p. 7. If posing this question

is all it takes to justify being called an advocate for Pederasty, Pedophilia, violent sexual

assaults against children, and for the breaking of existing laws—all under the guise of

protected opinion—then the tort of defamation should simply be retired.

       Blakemore misleads the Court on these issue and, in any event, disproves the

conclusion sought by her MSJ – that these not provable assertions of fact. They are. And

they are matters for trial and not summary judgment. There is no legitimate argument that

the meat of Dr. Hubbard’s claim—that he was falsely accused of advocating for violent

rape and the breaking of existing laws (which resulted in one his classes being “banned”)—

is in any way a matter of opinion or that such allegations are true.

                                   V.      CONCLUSION

       Blakemore pretends that she is the one being silenced by this proceeding. But the

reality is that it is Dr. Hubbard who has been silenced by Blakemore’s lies that caused

physical violence to be directed at him. Blakemore sought attention for herself by attacking

a gay man who sought to understand a “reviled” segment of society from the standpoint of




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the ancestors of Western civilization and to explore the human rights abuses suffered as a

result of the disparate legislation and application of statutory rape laws against gay men.

MSJ at Ex. E at p. 4. Blakemore had a right to disagree with Dr. Hubbard. She did not

have a right to take a short-cut from rigorous and informed debate on the issues Dr.

Hubbard has spent years studying and simply lie about him and his academic work for her

moment in the sun. Her MSJ should be denied in its entirety.



                                             Respectfully submitted,

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                            CERTIFICATE OF SERVICE

       This is to certify that on this the 23rd day of September, 2020, a true and correct

copy of the above and foregoing instrument was properly forwarded to all counsel of record

via ECF.

                                     /s/ Joe Sibley________________________
                                     Joe Sibley




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